            Case 1:20-cr-00462-LTS Document 32 Filed 01/12/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 20 CR 462-LTS

JOSE COSTE,

                 Defendant.

-------------------------------------------------------x

                                                     ORDER

                 A pretrial conference is scheduled to take place via teleconference in the above

captioned case on January 21, 2021, at 3:00 p.m.

                 To access the call, the parties must dial 888-363-4734, enter the access code

1527005#, and the security code 1247#. (Members of the press and public may call the same

number, but will not be permitted to speak during the hearing.) In accordance with the Court’s

Emergency Individual Rules and Practices in Light of COVID-19, counsel should adhere to the

following rules and guidelines during the conference:

              1. Each party should designate a single lawyer to speak on its behalf (including
                 when noting the appearances of other counsel on the telephone).

              2. Counsel should use a landline whenever possible, should use a headset instead of
                 a speakerphone, and must mute themselves whenever they are not speaking to
                 eliminate background noise. In addition, counsel should not use voice-activated
                 systems that do not allow the user to know when someone else is trying to speak
                 at the same time.

              3. To facilitate an orderly teleconference and the creation of an accurate transcript,
                 counsel are required to identify themselves every time they speak. Counsel
                 should spell any proper names for the court reporter. Counsel should also take
                 special care not to interrupt or speak over one another.

              4. If there is a beep or chime indicating that a new caller has joined while counsel is
                 speaking, counsel should pause to allow the Court to ascertain the identity of the


COSTE - PTC SCHD ORD 1.21.21.DOCX                          VERSION JANUARY 12, 2021                     1
          Case 1:20-cr-00462-LTS Document 32 Filed 01/12/21 Page 2 of 2




               new participant and confirm that the court reporter has not been dropped from the
               call.

               Persons granted remote access to proceedings are reminded of the general

prohibition against photographing, recording, and rebroadcasting of court proceedings.

Violation of these prohibitions may result in sanctions, including removal of court issued media

credentials, restricted entry to future hearings, denial of entry to future hearings, or any other

sanctions deemed necessary by the court.

       SO ORDERED.

Dated: New York, New York
       January 12, 2021

                                                               _/s/ Laura Taylor Swain___
                                                               LAURA TAYLOR SWAIN
                                                               United States District Judge




COSTE - PTC SCHD ORD 1.21.21.DOCX                  VERSION JANUARY 12, 2021                          2
